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                    EXHIBIT A
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                                                                  Jessa Hinton
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                                                                  Jessa Hinton
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                                                                  Jessa Hinton
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                    EXHIBIT B
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                    EXHIBIT C
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                    EXHIBIT D
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                                                                   Claudia Sampedro
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                                                                   Claudia Sampedro
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                                                                   Claudia Sampedro
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                                                                   Claudia Sampedro
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                                                                   Claudia Sampedro
